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                        UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
                               TAMPA DIVISION


MICHELLE DUVAL,

       Petitioner,

v.                                                     Case No: 8:15-cv-2645-T-30AAS


UNITED STATES OF AMERICA,

       Respondent.

________________________________/


                                        ORDER
       THIS CAUSE is before the Court on Petitioner Michelle Duval’s Motion to Correct

Sentence under 28 U.S.C. § 2255 (Dkt. 1), the Government’s Response (Dkt. 11), and

Petitioner’s Reply (Dkt.15). In her motion, Petitioner seeks relief in light of the Supreme

Court’s decision in Johnson v. United States, 135 S. Ct. 2551 (2015), which held that the

residual clause of the Armed Career Criminal Act (“ACCA”), 18 U.S.C. § 924(e)(2)(B)(ii),

defining a violent felony as a crime involving “conduct that presents a serious potential

risk of physical injury to another,” is unconstitutionally vague. See Johnson, 135 S. Ct. at

2563. More specifically, Petitioner argues that, after Johnson, her 1995 Florida robbery

conviction is not an ACCA predicate offense because Florida’s robbery statute, at that time,

did not require the requisite force for the offense to qualify as a predicate offense under
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ACCA’s elements clause. See 18 U.S.C. § 924(e)(2)(B)(i) (“. . . has as an element the use,

attempted use, or threatened use of physical force against the person of another. . . .”).

       The Government takes the opposite position, arguing that Florida’s robbery statutes

have long-required force sufficient to satisfy ACCA’s elements clause. See Dkt. 11, p. 10

(citing Montsdoca v. State, 93 So. 157, 159 (Fla. 1922)).

       The United States Court of Appeals for the Eleventh Circuit, however, has

concluded that the issue is still unsettled. In re Jackson, --- F.3d ---, 2016 WL 3457659, *2

(11th Cir. June 24, 2016). In Jackson, the court noted that it had previously evaluated

Florida’s robbery statute, before Johnson was decided, and concluded that the statute met

ACCA’s residual clause. But, the court also noted, “we left open whether [a pre-2000

Florida robbery conviction] met the ‘elements clause’ definition.” Id. Importantly, the court

in Jackson last noted that it will soon hear oral argument in a case that will settle the issue.

Id.

       That case is United States v. Seabrooks, No. 15-10380, and the court will hear oral

argument on the issue of Florida’s robbery statute and whether it meets ACCA’s elements-

clause definition—the same issue on which this case likely hinges—during the week of

September 12, 2016.

       In light of the lack of clarity on the legal question that will resolve this petition, and

the clarity that the Eleventh Circuit should soon provide, it is ORDERED AND

ADJUDGED that:




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      1. This action is STAYED AND ADMINISTRATIVELY CLOSED pending a

          decision from the United States Court of Appeals for the Eleventh Circuit in

          United States v. Seabrooks, No. 15-10380 (11th Cir. July 20, 2016).

      2. The Clerk is directed to terminate any pending motions.

      3. Counsel for Petitioner shall move to reopen this action and reinstate any

          motions, if desired, within thirty (30) days after the Eleventh Circuit issues an

          opinion in Seabrooks.

      DONE and ORDERED in Tampa, Florida, this 30th day of August, 2016.




Copies furnished to:
Counsel/Parties of Record




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